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EXHIBIT C

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SECURITIES AND EXCHANGE COMMISSION
WASHINGTON, D.C, 20549

FORM 10-K
(MARK ONE)
{x] ANNUAL REPORT PURSUANT TO SECTION 13 OR 15(d) OF THE
SECURITIES EXCHANGE ACT OF 1934
POR THE FISCAL YEAR ENDED DECEMBER 31, 1999
OR
{] TRANSITION REPORT PURSUANT TO SECTION 13 OR 15(d) OF THE
SECURITIES EXCHANGE ACT OF 1934
FOR THE TRANSITION PERIOD FROM TO
COMMISSION FILE NUMBER 1~-3608
WARNER-LAMBERT COMPANY
(EXACT NAME OF REGISTRANT AS SPECIFIED IN ITS CHARTER)
DELAWARE 201 TABOR ROAD XX-XXXXXXX
(STATE OR OTHER JURISDICTION MORRIS PLAINS, NEW JERSEY 07950 (I.R.S. EMPLOYER
oF (ADDRESS OF PRINCIPAL IDENTIFICATION NO.)
INCORPORATION OR EXECUTIVE OFFICES, INCLUDING
ORGANIZATION) ZIP CODE)

973-385-2000
(REGISTRANT'S TELEPHONE NUMBER, INCLUDING AREA CODE)

SECURITIES REGISTERED PURSUANT TO SECTION 12(b) OF THE ACT:

NAME OF EACH EXCHANGE ON
TITLE OF EACH CLASS WHICH REGISTERED

Common Stock (Par Value $1 Per Share) The New York Stock Exchange, Inc.
The Chicago Stock Exchange, Inc.
The Pacific Stock Exchange, Inc.

Rights to Purchase Series A

Junior Participating Preferred Stock The New York Stock Exchange, Inc.
The Chicago Stock Exchange, Inc.
The Pacific Stock Exchange, Inc.

SECURITIES REGISTERED PURSUANT TO SECTION 12(g) OF THE ACT:
None.

Indicate by check mark whether the registrant (1) has filed all reports
required to be filed by Section 13 or 15(d) of the Securities Exchange Act of
1934 during the preceding 12 months (or for such shorter period that the
registrant was required to file such reports) and (2) has been subject to such
filing requirements for the past 90 days. Yes [x] No [ ]

Indicate by check mark if disclosure of delinquent filers pursuant to Item
405 of Regulation S-K is not contained herein, and will not be contained, to the
best of registrant's knowledge, in definitive proxy or information statements
incorporated by reference in Part III of this Form 10-K or any amendment to this
Form LO-K. [ ]

The aggregate market value of the voting stock held by non-affiliates of
Warner-Lambert Company as of February 29, 2000 was approximately $73.2 billion.

The number of shares outstanding of the registrant's Common Stock as of
February 29, 2000 was 867,281,738 shares, Common Stock, par value $1.00 per
share.

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remediation costs for a given site may be paid out over several years. While it
is not possible to predict with certainty the outcome of such matters or the
total cost of remediation, management believes it is unlikely that their
ultimate disposition will have a material adverse effect on the Company's
financial position, liquidity, cash flows or results of operations for any year.

Also see ‘Item 8. Financial Statements and Supplementary Data' below, for
additional information on environmental actions, which is set forth in Note 18
to the Consolidated Financial Statements.

ITEM 2. PROPERTIES.

The executive offices of Warner-Lambert are located in Morris Plains, New
Jersey. In the United States, including Puerto Rico, Warner-Lambert owns
facilities aggregating approximately 6,724,000 square feet and leases facilities
having an aggregate of approximately 900,000 square feet.

Warner-Lambert's United States manufacturing plants are located in Lititz,
Pennsylvania (pharmaceuticals and consumer health care products); Rockford,
Illinois (confectionery products); Holland, Michigan (pharmaceuticals) ;
Greenwood, South Carolina (capsules); Milford, Connecticut (razors and blades) ;
and Blacksburg, Virginia (pet care products). Warner-Lambert Inc., a
wholly-owned subsidiary of Warner-Lambert operating in Puerto Rico, has plants
located in Fajardo (pharmaceuticals) and vega Baja (consumer health care and
confectionery products). Parke-Davis Pharmaceuticals Limited, a wholly owned
subsidiary of Warner-Lambert, operating in Puerto Rico, has a plant located in
Vega Baja (pharmaceuticals and consumer health care products). For a discussion
on the sale of the manufacturing facility located in Rochester, Michigan see
'TItem 1. Business Segments -~- Pharmaceutical Products' above.

In the United States, Warner-Lambert currently distributes its various
products through two distribution centers located in Lititz, Pennsylvania and
Elk Grove, Illinois. Principal United States research facilities are located in
Ann Arbor, Michigan (pharmaceuticals), La Jolla, California (pharmaceuticals)
and Morris Plains, New Jersey (pharmaceuticals, consumer health care and
confectionery products).

Internationally, Warner-Lambert owns, leases or operates, through its
subsidiaries or branches, 59 production facilities in 29 countries. Principal
international manufacturing plants are located in Ireland, Germany, Canada,
Mexico, Japan, France, Brazil, Colombia and Australia. Principal international
research facilities are located in Ireland, France, Germany, Japan, the United
Kingdom and Canada.

In order to achieve its objectives of increased efficiency and a lower cost
of goods sold, Warner-Lambert, over a number of years and at significant cost,
has consolidated many of its plants and facilities around the world. This has
often resulted in the production of pharmaceutical products, consumer health
care products and/or confectionery products at a single facility. The loss of
one or more of Warner-Lambert's own production and packaging facilities could
have a material adverse effect on certain of Warner-Lambert's reportable
segments.

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Warner-Lambert's facilities are generally in good operating condition and
repair and at present are adequately utilized within reasonable limits. Leases
are not material to the business of Warner-Lambert taken as a whole.

ITEM 3. LEGAL PROCEEDINGS.

For information relating to environmental matters see ‘Item 1.
Business -- Environment! above.

In November 1999, following the announcement by the Company of its execution
of the AHP Merger Agreement, Pfizer filed suit against the Company, its board of
directors and AHP, seeking to invalidate certain provisions in the AHP Merger
Agreement and enjoin their implementation. The lawsuit claimed, among other
things, that the termination fee, reciprocal stock option agreements and a
provision preventing Warner-Lambert's directors from amending its shareholder
rights plan were invalid, and that the members of the Company's board of
directors breached their fiduciary duties to the Company's shareholders by
entering into the AHP Merger Agreement. Pursuant to a settlement agreement
executed on February 6, 2000 in connection with the termination of the AHP
Merger Agreement and the execution of the Pfizer Merger Agreement, the Company,
AHP and Pfizer entered

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into settlement agreements with respect to this litigation. Shortly thereafter
the litigation against AHP was dismissed with prejudice and the litigation
between Pfizer and the Company was dismissed without prejudice.

The Company, its Directors and AHP have been named in approximately 40
lawsuits in Delaware Chancery Court, one lawsuit in Morris County, New Jersey,
and two lawsuits in federal court in New Jersey brought on behalf of purported
classes of the Company's shareholders. These lawsuits involve allegations
similar to those contained in Pfizer's lawsuit, described above, and contain
additional allegations, including that the consideration that was to be paid to
the Company's shareholders in the proposed merger with AHP was inadequate. The
Company believes these lawsuits to be without merit and is defending them
vigorously. Following the termination of the AHP Merger Agreement, the Company
has begun to seek disposition of these claims.

On November 23, 1999, Pfizer filed suit against the Company in the Delaware
Court of Chancery relating to certain contracts between Pfizer and the Company
for the marketing and co-promotion of LIPITOR. Pfizer alleged that the execution
of the AHP Merger Agreement violated certain provision in those agreements. The
Company counterclaimed on November 29, 1999 and sought a declatory judgment that
the Company was entitled to terminate the LIPITOR agreements. Pursuant to a
settlement agreement executed on February 6, 2000 in connection with the
termination of the AHP Merger Agreement and the execution of the Pfizer Merger
Agreement, the Company and Pfizer entered into a settlement agreement with
respect to the LIPITOR litigation. The litigation was dismissed without
prejudice shortly thereafter.

Certain employees of Warner-Lambert were served with subpoenas in January,
2000, by the U.S. Attorney's office in Boston, Massachusetts, directing them to
provide testimony before a federal grand jury in Boston. The U.S. Attorney's
office is conducting an inquiry into Warner-Lambert's promotion of NEURONTIN.
Warner-Lambert is cooperating with the inquiry and cannot predict what the
outcome of the investigation will be.

In late 1993, Warner-Lambert, along with numerous other pharmaceutical
manufacturers and wholesalers, was sued in a number of state and federal
antitrust lawsuits seeking damages {including trebled and statutory damages,
where applicable) and injunctive relief. These actions arose from allegations
that the defendant drug companies, acting alone or in concert, engaged in
differential pricing whereby they favored institutions, managed care entities,
mail order pharmacies and other buyers with lower prices for brand name
prescription drugs than those afforded to retail pharmacies. The federal cases,
which were brought by retailers, were consolidated by the Judicial Panel on
Multidistrict Litigation and transferred to the U.S, District Court for the
Northern District of Illinois for pre-trial proceedings, In dune 1996, the Court
approved Warner-Lambert's agreement to settle part of the consolidated federal
cases, specifically, the class action conspiracy lawsuit, for a total of $15.1
million. This settlement also contains certain commitments regarding
Warner-Lambert's pricing of brand name prescription drugs. Appeals of the
District Court's approval of this settlement were unsuccessful, and the
commitments have become effective. Certain other rulings of the judge presiding
in this case were also appealed, and the judge was reversed on all rulings. The
cases have been remanded to the District Court, and trial of the class action
conspiracy action against the non-settling defendant pharmaceutical
manufacturers and wholesalers was concluded in November, 1998 with a directed
verdict for the defendants and dismissal of the class plaintiffs! case. That
decision was affirmed in substantial part by the 7th Circuit Court of Appeals.
In April 1997, after execution of the federal class settlement referred to above
but prior to the formal effectiveness of its pricing commitments, the same
plaintiff-class members brought a new purported class action relating to the
time period subsequent to the execution of the settlement. This new class suit
sought only injunctive relief. At present, Warner-Lambert cannot predict the
outcome of this and the other remaining federal lawsuits in which it is a
defendant.

In addition, the Company has settled the vast majority of the
Robinson-Patman Act lawsuits brought by those retail pharmacies which opted out
of the class action conspiracy lawsuit. The amount of these settlements is not
material.

The state cases pending in California, brought by classes of pharmacies and
consumers, have been coordinated in the Superior Court of California, County of
San Francisco. The Company, with the majority of the other drug company
defendants, settled the California consumer class action and this

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SIGNATURES

PURSUANT TO THE REQUIREMENTS OF SECTION 13 OR 15(d) OF THE SECURITIES
EXCHANGE ACT OF 1934, THE REGISTRANT HAS DULY CAUSED THIS REPORT TO BE SIGNED ON
ITS BEHALF BY THE UNDERSIGNED, THEREUNTO DULY AUTHORIZED.

WARNER-LAMBERT COMPANY
Registrant

Dated as of March 28, 2000 By /S/ LODEWIJK J. R. DE VINK
Lodewijk J. R. de Vink
Chairman of the Board,

President and Chief Executive Officer

PURSUANT TO THE REQUIREMENTS OF THE SECURITIES EXCHANGE ACT OF 1934, THIS
REPORT HAS BEEN SIGNED BELOW BY THE FOLLOWING PERSONS ON BEHALF OF THE
REGISTRANT AND IN THE CAPACITIES AND ON THE DATES INDICATED.

/8/ LODEWIUK J. R. DE VINK
BY ce ce ee ee eee ee eee
Lodewijk J. R. de Vink
Chairman of the Board, President
and Chief Executive Officer
(Principal Executive Officer)
and Director

/S/ ERNEST J. LARINI
BY cee ce ee ee ete ee eee ee eee
Ernest J. Larini
Chief Financial Officer and
Executive Vice President Administration
(Principal Financial Officer)

March 28, 2000
/S/ JOSEPH E. LYNCH

BY ee ee ee eee ee eee eee eee eee
Joseph E. Lynch

Vice President and Controller
(Principal Accounting Officer)

/S/ ROBERT N. BURT

BY ce ee ee ee te ee ee ee
Robert N. Burt, Director

/S/ DONALD C. CLARK

BY cc ee ee ee ee ee ee ee eee eee ee
Donald Cc. Clark, Director

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/S/ JOHN A. GEORGES

BY ee ee ee eee ee ee eee eee eee eee
John A. Georges, Director
/S/ WILLIAM H. GRAY III
BY ee ee ee ee ee eee eee ee eee
William H. Gray III, Director
/S/ WILLIAM R. HOWELL
BY ee ee eee ee eee ee eee eee eee eens
William R. Howell, Director
/S/ LASALLE D. LEFFALL, JR.
BY vec eee ete ee eee eee ee ee eee tee eee
LaSalle D. Leffall, Jr., M.D., Director March 28, 2000
/S/ GEORGE A. LORCH
BY cc ee ee ee ee eee eee eee eee eee
George A. Lorch, Director
/S/ ALEX J. MANDI,
BY vee ee ee ee ee ee ee ete eens be eee ee wees
Alex J. Mandl, Director
/S/ MICHAEL I. SOVERN
BY cee ce er ee ee eee ee ee ee ee ee ee ee ee ee
Michael I. Sovern, Director
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STATEMENT OF DIFFERENCES
The registered trademark symbol shall be expressed as............... ‘x!

The Greek letter Mu shall be expressed aS....... cece ee ee ees ‘y!

